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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION



          WITNESS LIST – HEARING ON MOTION FOR PRELIMINARY INJUNCTION




JOHN RASH                                                             PLAINTIFF


v.                                                CASE NO. 3:20cv224-NBB-RP


LAFAYETTE COUNTY, MISSISSIPPI                                         DEFENDANT




                                                                Date: August 5, 2020




      PLAINTIFF                                          DEFENDANT

1. John Rash                       ______         1. Lisa Carwyle            _________________

2.                  ____________________          2. Joey East_______________________________

3. ______________________________________         3. ______________________________________

4. ______________________________________         4. ______________________________________

5. ______________________________________         5. ______________________________________

6. ______________________________________         6. ______________________________________
